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                      IN THE UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

METALLICA, a California general partnership,

       Plaintiff,                                            Case No.: 1:19-cv-02219

v.                                                           Judge John Z. Lee

THE PARTNERSHIPS AND UNINCORPORATED                          Magistrate Judge Mary M. Rowland
ASSOCIATIONS IDENTIFIED ON SCHEDULE “A”,

       Defendants.


                                  NOTICE OF DISMISSAL

       Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i), Plaintiff hereby files this Notice of Voluntary

Dismissal, without prejudice, as to the following Defendant(s) identified on Schedule A of the

Complaint:

               NO.                                   DEFENDANT
                254                                  havefun778899
                305                                     qilongzhu17
                224                                     tellingad123
                391                                 Amoy baby Store
                781                                Small Koala Store
                543                                     Jay-z store
                436                            CIGNAWIND NO.5 Store
                723                                Shop4481136 Store
                376                                 A    Sports Jersey
                514                   Golden Wave Fashion Store(custom tee shirt)
                792                              TASTES-L TEES Store
                622                       Professional Print Clothing CO.,LTD
                299                                     Panda Tech
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DATED: May 31, 2019                                   Respectfully submitted,

                                                      /s/ Keith A. Vogt
                                                      Keith A. Vogt (Bar No. 6207971)
                                                      Keith Vogt, Ltd.
                                                      1033 South Blvd., Suite 200
                                                      Oak Park, Illinois 60302
                                                      Telephone: 708-203-4787
                                                      E-mail: keith@vogtip.com

                                                      ATTORNEY FOR PLAINTIFF

                                 CERTIFICATE OF SERVICE

        The undersigned hereby certifies that a true and correct copy of the above and foregoing
document was electronically filed on May 31, 2019 with the Clerk of the Court using the CM/ECF
system, which will automatically send an email notification of such filing to all registered attorneys
of record.

                                                      /s/ Keith A. Vogt
